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                             EXHIBIT 1
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  From: Larry Klayman <leklayman@gmail.com>
  Sent: Monday, January 13, 2020 12:01 PM
  To: Handman, Laura <laurahandman@dwt.com>
  Cc: Dina James <daj142182@gmail.com>; Oliver Peer <oliver.peerfw@gmail.com>
  Subject: Re: Loomer v. Facebook: scheduling mediation

  [EXTERNAL]


  I was attempting to edit this email and it was send prematurely.

  What else I wanted to say is that if you know of mediators who are not close to your local
  counsel let us know. Given our past experience we cannot agree to someone who is in the hip
  pocket of local counsel. So were are looking for a non-politicized and independent mediator with
  the prospect of having a real mediation to try to settle the case. This obviously would save time
  and expense for everyone, including the Court most importantly.

  Thus far, we have not experienced this approach from you, although with others in your firm,
  such as in the Laura Luhn case, we have on occasion been able to find common ground with for
  the mutual benefit of all.

  Larry Klayman

  On Mon, Jan 13, 2020 at 8:55 AM Larry Klayman <leklayman@gmail.com> wrote:


  ---------- Forwarded message ---------
  From: Larry Klayman <leklayman@gmail.com>
  Date: Mon, Jan 13, 2020 at 8:54 AM
  Subject: Re: Loomer v. Facebook: scheduling mediation
  To: Handman, Laura <laurahandman@dwt.com>


  Ms. Handman:

  Your proposed dates for mediation are not acceptable, as the Court -- which will not obviously
  not countenance this apparent attempt to delay, which we have seen in other cases.

  The same is true for your proposed mediators, who we do not find acceptable I will get back to
  you by cob tomorrow with our suggestions.

  Sincerely,

  Larry Klayman, Esq.

  On Fri, Jan 10, 2020 at 3:07 PM Handman, Laura <laurahandman@dwt.com> wrote:
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  Larry,



  As you may be aware, the Court issued an order this week, requiring the parties to file their Notice of
  Scheduling Mediation by January 17, 2020. (See attached Order). This notice must include the name of
  the mediator and the date, time, and place for the mediation—as set forth in the Court’s earlier Order of
  Referral to Mediation. See Dkt. 22 (also attached). That same order also states that mediation must be
  completed by May 4, 2020. In the spirit of moving this along, we propose any of the following dates for
  mediation: April 27, 28, or 30 or May 4. Of these, our preference is for May 4. In addition, we also
  propose either of the following mediators—John Barkett or John Freud, both of whom are on the
  Southern District of Florida’s certified mediator list.



  Please let us know your position on these options by Tuesday, January 14 so that we can jointly file the
  Notice by January 17. Have a good weekend.



  Best,

  Laura




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